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                            Exhibit 1

                  Remand Order, 1:23-cv-03621-SCJ
        U.S. District Court for the Northern District of Georgia
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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


   THE STATE OF GEORGIA
                                                            CIVIL ACTION FILE
   v.
                                                          No. 1:23-CV-03621-SCJ
   MARK R. MEADOWS,
                                                     RE: NOTICE OF REMOVAL OF
                                                     FULTON COUNTY SUPERIOR
     Defendant.                                          COURT INDICTMENT
                                                           NO. 23SC188947


                                              ORDER

         This matter appears before the Court following Defendant Mark R.

   Meadows’s filing of a Notice of Removal. Doc. No. [1]. 1 This Order addresses a

   relatively narrow question: Has Meadows carried his burden of demonstrating

   that removal of the State of Georgia’s criminal prosecution against him is proper

   under the federal officer removal statute, 28 U.S.C. § 1442(a)? Having considered

   the arguments and evidence, the Court concludes that Meadows has not met his

   burden. Therefore, the Court DECLINES to assume jurisdiction over the State’s




   1 All citations are to the electronic docket unless otherwise noted, and all page numbers

   are those imprinted by the Court’s docketing software.
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   criminal prosecution of Meadows under 28 U.S.C. § 1455 and REMANDS the

   case to Fulton County Superior Court. 2

          Because the Court lacks jurisdiction over this matter, the Court DIRECTS

   the Clerk to TERMINATE all pending motions and CLOSE this case.

   I.     BACKGROUND

          Meadows served as the White House Chief of Staff. 3 Defendant’s Exhibit

   (“DX”) 1. His tenure began on March 31, 2020 and ended on January 20, 2021,

   when President Biden assumed the Office of President of the United States. Id.;

   Doc. No. [65] (“Hearing Tr.”) Tr. 9:22–10:3.

          On August 14, 2023, a Fulton County, Georgia Grand Jury returned an

   indictment charging 19 Defendants with various crimes related to alleged post-

   election interference with the 2020 presidential election in Georgia (“the



   2 Despite using the term “remand” the Court has not actually assumed jurisdiction over

   this case under Section 1455, and the State proceedings are ongoing. Nevertheless,
   Section 1455 itself conceives of some form of remand, 28 U.S.C. § 1455(b)(4), and other
   federal courts who have failed to find that federal jurisdiction exists over a criminal
   prosecution have “remanded” the prosecution to the state court. See, e.g., New York v.
   Trump, ---F. Supp. 3d----, No. 23 CIV. 3773 (AKH), 2023 WL 4614689, at *1 (S.D.N.Y. July
   19, 2023).
   3 Meadows’s commission lists his official title as Assistant to the President and Chief of

   Staff. See DX 1. For consistency in this Order, the Court will use the term “White House
   Chief of Staff” to encompass Meadows’s full title of “Assistant to the President and
   Chief of Staff.”
                                             2
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   Indictment”). Doc. No. [1-1]. The Indictment charged all Defendants with

   conspiracy under the Georgia Racketeer Influenced and Corrupt Organizations

   (“RICO”) Act, O.C.G.A. § 16-14-4(c). Doc. No. [1-1], 13 (Count 1). It also charged

   different co-Defendants with other various criminal violations. See generally

   Doc. No. [1-1], 72–97 (Counts 2–41).

         The Indictment charges Meadows specifically with the RICO conspiracy,

   O.C.G.A. § 16-14-4(c), and solicitation of violation of oath by a public officer,

   O.C.G.A. §§ 16-14-7 & 16-10-1. Doc. No. [1-1], 13 (Count 1), 87 (Count 28).

   Meadows argues that the charges against him relate to the scope of his official

   duties and that he has colorable federal defenses. See, generally Doc. No. [1].

   Based on those arguments, on August 15, 2023, Meadows filed his Notice of

   Removal of the criminal prosecution in this Court. Id.

         Relying on 28 U.S.C. § 1455, Meadows asserts federal officer jurisdiction

   under 28 U.S.C. § 1442. See, generally id. The Court declined to summarily

   remand Meadows’s removal action and ordered an evidentiary hearing be held

   on the Notice of Removal on August 28, 2023, pursuant to Section 1455(b)(5). Doc.

   No. [6]. The Court also ordered the State to respond to Meadows’s Notice of

   Removal (id.), which it did on August 23, 2023 (Doc. No. [27]). Meadows replied


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   on August 25, 2023. Doc. No. [45]. The same day, the Court permitted amicus

   curiae to file a brief in support of declining jurisdiction. Doc. Nos. [54]; [55].

          Before the hearing, Meadows filed a Motion to Dismiss (Doc. No. [15]) and

   an Emergency Motion to enjoin his arrest in Fulton County, Georgia (Doc. No.

   [17]). The Motion to Dismiss remains outstanding on the Court’s Docket. The

   Court denied Meadows’s Emergency Motion under 28 U.S.C. § 1455(b)(3), which

   expressly mandates that the state court criminal proceeding continues until the

   federal court notifies the state court that it has assumed federal jurisdiction over

   the prosecution. Doc. No. [25].

          On August 28, 2023, the Court held a hearing on Meadows’s Notice of

   Removal. Doc. No. [62]. Meadows personally testified 4 and, through counsel,

   admitted a number of exhibits, including two declarations of persons who




   4
    At a criminal trial, the State has the burden of proof. Thus, at a criminal defendant’s
   trial on the merits, he never has the obligation of presenting a defense or testifying, and
   those choices can never be held against him. U.S. Const. amend. V. For a notice of
   removal, however, the Defendant has the burden of establishing subject matter
   jurisdiction. 28 U.S.C. § 1455(b)(5); See Leonard v. Enter. Rent a Car, 279 F.3d 967, 972
   (11th Cir. 2002) (“A removing defendant bears the burden of proving proper federal
   jurisdiction.”); cf. also Maryland v. Soper, 270 U.S. 9, 34 (1926) (discussing defendant’s
   testifying in support of their notice of removal of a criminal indictment) (collecting
   cases).


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   worked in the White House at the time he was the White House Chief of Staff

   and were familiar with his role in the administration as Chief of Staff. The State

   called Kurt Hilbert, an attorney who represented President Trump and the

   Trump campaign in 2020, and Georgia Secretary of State, Brad Raffensperger.

   The State also admitted a number of exhibits, including an audio recording of the

   January 2, 2021 phone call between President Trump, Secretary Raffensperger,

   and others, in which Meadows participated. State’s Exhibit (“SX”) 3.

         At the conclusion of the hearing, the Court took the matter of its

   jurisdiction over the criminal prosecution under advisement. The Court

   subsequently ordered post-hearing briefing regarding the role of the

   Indictment’s alleged overt acts for purposes of determining applicability of the

   federal officer removal statute. Doc. No. [63]. The Parties timely submitted the

   requested briefing. Doc. Nos. [66]; [67]. Having considered the arguments put

   forth by the Parties, the evidence submitted at the evidentiary hearing, and the

   briefing on this matter, the Court now enters this Order concluding that the Court

   lacks federal jurisdiction over Meadows’s criminal prosecution.




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   II.   LEGAL STANDARD

         “[A] federal district court should be slow to act ‘where its powers are

   invoked to interfere by injunction with threatened criminal prosecutions in a

   state court.’” Cameron v. Johnson, 390 U.S. 611, 618 (1968) (quoting Douglas v.

   City of Jeannette, 319 U.S. 157, 162 (1943)). There is a “strong judicial policy

   against federal interference with state criminal proceedings.” Arizona v.

   Manypenny, 451 U.S. 232, 243 (1981) (quoting Huffman v. Pursue, Ltd., 420 U.S.

   592, 600 (1975)).

         An exception to those general concepts of federalism is the federal officer

   removal statute, 28 U.S.C. § 1442(a)(1). That statute, allows for federal jurisdiction

   over “a criminal prosecution . . . against . . . any officer (or any person acting

   under that officer) of the United States . . . for or relating to any act under color

   of such office.” Federal officer removal “is an incident of federal supremacy and

   is designed to provide federal officials with a federal forum in which to raise

   defenses arising from their official duties.” Florida v. Cohen, 887 F.2d 1451, 1453

   (11th Cir. 1989) (citing Willingham v. Morgan, 395 U.S. 402, 405 (1969)). However,

   because of a preference for state courts conducting their state prosecutions,

   removal of a state criminal prosecution requires a “more detailed showing” of


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   the relation between the acts charged and the federal role at issue. Willingham v.

   Morgan, 395 U.S. 402, 409 n.4 (1969). Furthermore, federal courts must maintain

   a balance between what Section 1442 allows and respect for a State’s right to deal

   with matters properly within its domain.

         Meadows removed this criminal prosecution under 28 U.S.C. § 1455, which

   provides the procedure for removing a state criminal prosecution to a federal

   district court. “28 U.S.C. § 1455 ‘merely provides procedures that must be

   followed in order to remove a criminal case from state court when a defendant

   has the right to do so under another provision.’” Maine v. Counts, No. 22-1841,

   2023 WL 3167442, at *1 (1st Cir. Feb. 16, 2023) (quoting Kruebbe v. Beevers, 692

   F. App’x 173, 176 (5th Cir. 2017) (per curiam)). Upon filing a notice of removal,

   the Court must promptly determine whether the notice and its attachments

   clearly fail to establish the Court’s subject matter jurisdiction, and if they do, the

   case is summarily remanded to state court. 28 U.S.C. § 1455(b)(4). If summary

   remand is not granted, then the district court must “promptly” hold an

   evidentiary hearing to determine the “disposition of the prosecution as justice

   shall require.” Id. § 1455(b)(5). Based on the facts adduced at the hearing and the

   arguments put forth by the Parties, the Court must determine whether the


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   Defendant has met his burden in establishing that the Court has subject matter

   jurisdiction over his criminal prosecution. Trump, 2023 WL 4614689, at * 5 (citing

   United Food & Comm. Workers Union v. CenterMark Props. Meriden Square,

   Inc., 30 F.3d 298, 301 (2d Cir. 1994)).

         Under 28 U.S.C. § 1442, the question of the scope of a federal officer’s

   authority contains issues of law and fact. See Nadler v. Mann, 951 F.2d 301, 305

   (11th Cir. 1992) (“[D]etermination[s] of whether an employee’s actions are within

   the scope of his employment involve[ ] a question of law and fact.”).

         Ultimately, for removal under Section 1455 to be proper, the removing

   party must show that there is a basis for the federal court to exercise jurisdiction

   over the criminal prosecution. See Leonard, 972 F.3d at 972 (“A removing

   defendant bears the burden of proving proper federal jurisdiction.”). If the Court

   lacks federal jurisdiction, then the case cannot proceed in this forum.

         The Supreme Court has cautioned that “an airtight case on the merits in

   order to show the required causal connection” is not required and that courts are

   to “credit” the movant’s “theory of the case” for the elements of the jurisdictional




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    inquiry. 5 Jefferson Cnty. v. Acker, 527 U.S. 423, 432 (1999). “The point is only that

    the officer should have to identify as the gravamen of the suit an act that was, if

    not required by, at least closely connected with, the performance of his official

    duties.” Id. at 447 (Scalia, J., dissenting).

    III.   ANALYSIS

           To determine whether Meadows is able to remove based on federal officer

    jurisdiction pursuant to 28 U.S.C. § 1442(a)(1), the Court must answer the

    following questions: (1) whether Meadows was a federal officer during the time

    of the allegations in the Indictment, (2) whether the charged conduct in the

    criminal prosecution were undertaken for or related to Meadows color of office, 6

    and (3) whether Meadows has put forth a colorable federal defense for the




    5 The Court notes that this language in Acker refers to the colorable defense prong of

    the analysis. 527 U.S. at 432. It is unclear whether the theory of the case language applies
    to the second prong of the analysis. Nevertheless, the Court will evaluate the theory of
    the case as it relates to the color of office because at least one district court recently has
    applied it in this manner. See Georgia v. Heinze, 637 F. Supp. 3d 1316, 1322 (N.D. Ga.
    2022).
    6 Acts taken under color of office, must be either “vested with, or appear to be vested

    with, the authority entrusted to that office.” Color of Office, Black’s Law Dictionary
    (11th ed. 2019).


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    criminal prosecution. Caver v. Cent. Ala. Elec. Coop., 845 F.3d 1138, 1142 (11th

    Cir. 2017).

             The State concedes that at the time of the events alleged in the Indictment,

    Meadows was a federal officer and his role was the White House Chief of Staff.

    Hearing Tr. 251:12–17. Thus, the Court must next evaluate the second question

    of whether the acts in the Indictment relate to his role as White House Chief of

    Staff.

             To determine whether the charged conduct was undertaken for, or related

    to Meadows’s color of office, the Court must: (A) define the act(s) allegedly

    undertaken by Meadows in the Indictment, (B) ascertain the scope of the federal

    officer role of the White House Chief of Staff, and (C) analyze whether Meadows

    showed that the act(s) in the Indictment were for or related to the role of the

    White House Chief of Staff.

             A.    The Federal Officer Removal Statute

             The Court must define what constitutes an “act” under 28 U.S.C.

    § 1442(a)(1). Then, the Court must assess how the “act” functions under the RICO




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    statute. Finally, the Court will establish the contours of the act as they relate to

    Meadows in the Indictment. 7

                  1.     Section 1442: The Text and Precedent

           The pertinent portion of § 1442(a)(1) provides: “[a] . . . criminal

    prosecution that is commenced in a State court and that is against or directed

    to . . . any officer . . . of the United States . . . in an official or individual capacity,

    for or relating to any act under color of such office” “may be removed by them

    to the district court of the United States.” The phrase “for or relating to any act

    under color of such office” modifies the earlier clause, “[a] criminal

    prosecution . . . that is directed against or directed to an officer” of the United

    States. 28 U.S.C. § 1442(a)(1). This structure indicates that the criminal

    prosecution must arise from an act that is for or relating to the color of a federal

    office. Even if a criminal defendant can characterize individual instances of

    behavior as part of his official duties within the broader charged conduct, this is

    not enough to convey subject matter jurisdiction on this Court. Put differently,




    7 This Court primarily focuses on the Indictment’s RICO charge because the other

    charge against Meadows, soliciting a violation of an oath by a public official, is also
    alleged as an overt act (with evidence submitted) in support of the RICO charge.
    Compare Doc. No. [1-1], 50 (Overt Act 112), with id. at 87 (Count 28).
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    facts indicating that a criminal defendant at times operated under the scope of

    his federal office will not provide this Court with subject matter jurisdiction

    under Section 1442 unless the State is criminally prosecuting the officer for those

    specific acts.

           This interpretation is consistent with other courts’ analyses. Specifically,

    courts have looked at whether the “claims” or the “charges” related to acts taken

    within the scope of the federal office. 8 In Nadler, the Eleventh Circuit suggested

    that the district court had subject matter jurisdiction where “one claim is

    cognizable under Section 1442 . . . .” 951 F.2d at 306 n.9 (emphasis added)

    (quoting National Audubon Soc. v. Dep’t of Water & Power, 496 F. Supp. 499,

    509 (E.D. Cal. 1980)). Therefore, the Court looks at (1) what the charges are against

    the federal officer, and (2) whether the charged conduct is for or relates to the

    color of the federal office.

           The cases cited by Meadows support the proposition that courts look to the

    whole “claim” alleged, not just isolated facts supporting the claim, to determine




    8 “Claims” in civil actions correspond to “charges” in criminal prosecutions. Cf. Kellogg

    Brown & Root Srvs. v. United States, 575 U.S. 650, 653 (2015) (“[W]e must
    decide . . . whether the Wartime Suspension of Limitations Act applies only to criminal
    charges or also to civil claims.” (emphasis added)).
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    whether Section 1442 has been satisfied. Doc. No. [67], 2 nn.1–3; see also Heinze,

    637 F. Supp. 3d at 1323 (“[A] federal officer can remove a criminal proceeding

    commenced in a State court where the criminal charges involve actions taken ‘in

    an official or individual capacity . . . .’” (quoting 28 U.S.C. § 1442(a)(1) (emphasis

    added));    Ladies    Mem’l     Ass’n     Inc.   v.   City    of   Pensacola,     No.

    3:20CV5681/MCR/ZCB, 2023 WL 2561785, at *3 (N.D. Fla. Mar. 17, 2023) (“If the

    complaint contains ‘even one federal claim[,]’ then the defendant has ‘the right to

    remove the entire case.’” (alteration in original) (emphasis added) (quoting

    Convent Corp. v. City of N. Little Rock, 784 F.3d 479, 483 (8th Cir. 2015))); Sawyer

    v. Foster Wheeler LLC, 860 F.3d 249, 257 (4th Cir. 2017) (finding removal where

    an officer asserts a federal defense to even one claim). Thus, the Court looks at the

    criminal charge to determine whether the charge relates to the scope of

    Meadows’s federal office.

          “To satisfy the [scope of federal office] requirement, the officer must show

    a nexus, ‘a causal connection, between the charged conduct and asserted official

    authority.” Acker, 527 U.S. at 431 (quoting Willingham, 395 U.S. at 409). The

    Supreme Court has articulated the following test for the “under color of office”

    requirement:


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                There must be a causal connection between what the
                officer has done under asserted official authority and the
                state prosecution. It must appear that the prosecution of
                him, for whatever offense, has arisen out of the acts done
                by him under color of federal authority and in
                enforcement of federal law, and he must by direct
                averment exclude the possibility that it was based on acts
                or conduct of his not justified by his federal duty.

    Mesa v. California, 489 U.S. 121, 131–32 (1989) (quoting Soper, 270 U.S. at 32).

    Under Eleventh Circuit jurisprudence, a key factor in determining applicability

    of the federal officer removal statute “is whether there is a causal connection

    between [the State’s charges] and an act of Defendant [] that forms the basis of

    those claims.” Caver, 845 F.3d at 1144.

          The Court notes that the RICO charge against Meadows presents a novel

    question in this case. Most cases invoking federal officer removal involve claims

    based on discrete actions taken by a defendant. For example, in Heinze, the

    defendants were charged with the discrete acts of felony murder, aggravated

    assault with a deadly weapon, burglary, false statements, and violation of oath

    by a public officer.” 637 F. Supp. 3d at 1318, nn.1–2. A RICO conspiracy,

    alternatively, involves wide-ranging allegations of licit and illicit activities,

    undertaken by an association of individuals, and in furtherance of a criminal

    enterprise. See Section (III)(A)(1) infra. The State’s prosecution in this case is
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    illustrative: the conspiracy charged here is alleged to have occurred over many

    months, included at least 19 individuals, and encompassed 161 overt acts. Doc.

    No. [1-1].

          Although RICO conspiracies are rarely removed under Section 1442, the

    Court is not without some precedent to guide the analysis. In 1982, the Eleventh

    Circuit evaluated whether an FBI agent, as a federal officer, had a federal

    immunity defense under the Supremacy Clause against a Georgia RICO charge.

    Baucom v. Martin, 677 F.2d 1346, 1347–48 (11th Cir. 1982). 9 The Eleventh Circuit

    affirmed the district court, who found that the sole overt act alleged against the

    FBI agent related to bribing a state court judge. Id. at 1348–51. The district court

    found, and the Eleventh Circuit affirmed, the conduct charged against the FBI

    agent was taken within the scope of the agent’s federal office because the bribery

    occurred during the execution of a state and federal criminal investigation into

    judicial corruption. Id.




    9 Baucom was not a removal case. Rather, it was a federal suit filed by the officer to

    preemptively prevent the commencement of a state criminal prosecution. Baucom, 677
    F.2d 1346.
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          On the other hand, the Fourth Circuit Court of Appeals held that the

    district court did not err in declining to exercise jurisdiction under Section 1442

    where “the heart of [the plaintiff]’s claims” did not relate to the scope of federal

    duty. Mayor & City Council of Balt. v. BP P.L.C., 31 F.4th 178, 234 (4th Cir. 2022).

    In that case, the civil complaint alleged that the defendants, as agents of the

    United States, contributed “to climate change by producing, promoting, selling,

    and concealing the dangers of fossil[-]fuel products.” Id. at 233 (alteration in

    original). The Fourth Circuit affirmed the district court’s finding that defendants

    did not show a basis for federal officer removal by looking at the complaint as a

    whole. The Fourth Circuit determined that while some activities were arguably

    within the scope the federal office (i.e., the production and concealment of

    hazardous fossil fuels was controlled or directed by a federal officer), the “lack

    of federal control over the production and sale of all fossil-fuel products is

    relevant to the nexus analysis.” Id. at 234. Moreover, even if production and sales

    were controlled or directed by a federal officer, the “heart” of the claims asserted

    was concealment and misrepresentation—which did not remove to the

    defendant’s official duties. Id. Ultimately, the Fourth Circuit concluded that the

    activities relating to the official duties (i.e., production and sales) were “too


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    tenuous” to the allegations of concealment and misrepresentation “to support

    removal under § 1442.” Id. at 234.

          Thus, under the text of the statute, binding authority, and persuasive

    authority, the Court finds that “act” in the federal officer removal statute is best

    defined as the “heart” of the criminal charge. BP PLC, 31 F.4th at 234. With this

    in mind, the Court now turns to the charges at issue in this case.

                 2.     The Georgia RICO Charge

          The Indictment charges Meadows and his 18 Co-Defendants with

    engaging in a RICO conspiracy to violate RICO statute. RICO statute provides

    that it is unlawful “to conspire or endeavor to [‘conduct or participate in, directly

    or indirectly, such enterprise through a pattern of racketeering activity’.]”

    O.C.G.A. § 16-14-4(c) (quoting id. § 16-14-4(b)). An “enterprise” is defined as

    “any person . . . or association, or group of individuals associated in fact although

    not a legal entity[.]” Id. § 16-14-3(3). The enterprise itself need not be illicit. Id.

    For purposes of this case, a “[p]attern of racketeering activity” requires at least

    two acts of racketeering activity with “same or similar intents, results,

    accomplices, victims, or methods of commission or otherwise are interrelated by

    distinguishing characteristics and are not isolated incidents[.]” Id. § 16-14-3(4).


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    “Racketeering activity” includes the commission (or attempted commission or

    solicitation, coercion, or intimidation of another to commit) of a variety of

    Georgia criminal statutes. See id. § 16-14-3(5)(A). It also can include violations of

    certain types of state or federal laws outside the State of Georgia. Id. § 16-14-

    3(5)(B)–(C).

          The RICO conspiracy charge only requires, at the least, that one co-

    conspirator commit an “overt act to effect the object of the conspiracy[.]” Id. § 16-

    14-4(c)(1). While not specifically defined in the RICO statute, the Georgia

    Supreme Court has indicated that an overt act under the general conspiracy

    provision, O.C.G.A. § 16-14-8, means “a specific type of open or manifest act

    made in furtherance of a conspiracy to commit a crime.” Bradford v. State, 285

    Ga. 1, 4, 673 S.E.2d 201, 204 (2009). Critically, for conspiracy crimes, “the

    indictment [need not] set forth the particulars of the overt act.” State v. Pittman,

    302 Ga. App. 531, 535, 690 S.E.2d 661, 664 (2010) (quoting Bradford v. State, 283

    Ga. App. 75, 78, 640 S.E.2d 630, 633 (2006), rev’d on other grounds Bradford, 285

    Ga. at 1, 673 S.E. at 203). Indeed, “the government is not required to prove the

    overt act specified in the indictment.” Nordahl v. State, 306 Ga. 15, 26, 829 S.E. 2d

    99, 109 (2019). Nor, must the State ultimately prove that each co-conspirator


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    defendant committed an overt act, so long as one co-conspirator committed overt

    acts in furtherance of the conspiracy. Cf. Thomas v. State, 215 Ga. App. 522, 523,

    451 S.E.2d 516, 517 (1994).

          In sum, to establish a RICO conspiracy the State only need prove that any

    co-conspirator committed one overt act in furtherance of the conspiracy, whether

    the overt act was specifically charged in the Indictment or not. In other words,

    the State can prove its RICO charge against Meadows by showing any one of his

    co-Defendants committed any overt act in furtherance of the conspiracy—

    whether that overt act is in the Indictment or not.

          The overt acts alleged against Meadows specifically “includ[e] but are not

    limited to” (Doc. No. [1-1], 20): attending a meeting with President Trump and

    Michigan officials about election fraud in Michigan (id. at 21 (Overt Act 5)),

    messaging a United States Representative from Pennsylvania (id. at 21 (Overt Act

    6)), meeting with Pennsylvania legislators about an election-related special

    session (id. at 22 (Overt Act 9)), requesting a memo regarding “disrupting and

    delaying the joint session of Congress on January 6, 2021” when electors’ votes

    were to be counted (id. at 24 (Overt Act 19)), physically attending and observing

    a nonpublic Georgia election audit and recount (id. at 44 (Overt Act 92)),


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    arranging a phone call between President Trump and the Georgia Secretary of

    State’s Chief Investigator regarding the Georgia presidential election results (id.

    (Overt Act 93)), messaging the Chief Investigator about the potential for a quicker

    signature verification of the Fulton County election results if “the [T]rump

    campaign assist[ed] financially” (id. at 45 (Overt Act 96)), and soliciting Georgia

    Secretary of State Brad Raffensperger to violate his oath of office by altering the

    certified returns for presidential electors (id. at 50 (Overt Act 112); see also id. at

    87 (Count 28 against Meadows under O.C.G.A. §§ 16-14-7 & 16-10-1)).

          While the Indictment’s named overt acts are not elements of the RICO

    conspiracy charged, the Court still finds that they are relevant evidence of

    whether Meadows’s association with the enterprise related to his role as White

    House Chief of Staff. See Section (III)(C)(2) infra.

          To clarify, under Georgia RICO, the overt acts are not elements of the RICO

    charge. They are used to illustrate the existence of the conspiracy and the various

    alleged co-conspirators’ association with the conspiracy. Georgia law makes clear

    that the State need not prove the existence of any particular overt act to prove its

    RICO claim, nor must the State prove any of the overt acts that are currently

    alleged in the Indictment. Because the “act” as defined by Section 1442(a)(1)


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    means the charge against Meadows—under Georgia’s RICO statute—his

    criminal prosecution is removable when his association with the conspiracy

    relates to the color of his federal office.

                 3.       The Alleged Act Taken for Purposes of Federal Officer
                          Removal

          Federal officer removal is appropriate when the gravamen, or “heart” of

    the charge relates to the federal office. BP P.L.C., 31 F.4th at 234. As stated above,

    the Court determines that the actual “act” alleged against Meadows is the RICO

    charge, not the overt acts. Section 1442 requires the Court to determine if

    Meadows was acting within the scope of his federal office in the alleged act of

    associating with a conspiracy to violate various Georgia criminal statutes. Put

    differently, the act at issue for purposes of the Indictment’s RICO charge is

    Meadows’s alleged association with the conspiracy. The overt acts, however, “by

    and large . . . only serve to tell a broader story about” the conspiracy to

    “unlawfully change the outcome of [the 2020 presidential] election in favor of

    [President] Trump” but they are “not the source of [criminal] liability.” Id. at 233;

    Doc. No. [1-1], 14.

          The Court acknowledges that, even though it was not required, the State

    chose to include these overt acts in the Indictment. Unsurprisingly, Meadows
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    structured his evidentiary presentation to the Court and his briefing around the

    eight overt acts in which he is mentioned. Following the hearing, the Court itself

    ordered supplemental briefing on the issue of whether a finding that some, but

    not all overt act(s) involving Meadows acting under color of federal office was

    enough to trigger the removal statute. Doc. No. [63]. And to be sure, defining

    Meadows’s “act” as associating with the alleged RICO conspiracy does not

    preclude assessing the overt acts alleged. See Baucom, 677 F.2d at 1346

    (evaluating the overt acts alleged against the FBI agent to determine whether his

    involvement in the conspiracy was for his federal duties). Accordingly, the

    Court’s subsequent discussion of the “relating to” requirement for federal officer

    removal includes an analysis of the overt acts in order to determine whether

    Meadows’s association with the alleged conspiracy (the conduct for which he

    was charged) related to the scope of his federal duties.

          Because the inquiry hinges on whether Meadows’s association with the

    conspiracy related to the color of his office, however, jurisdiction is not conferred

    simply because a single overt act relates to Meadows’s federal office. After all,

    the Indictment alleges a series of associative acts spanning over a year, and the

    overt acts attributed to Meadows span three months. Doc. No. [1-1], 15–71.


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    Undoubtedly, during that time Meadows performed actions for or that related to

    the color of his office. But the relevant inquiry is what activities go the heart of

    Meadows’s participation in the enterprise and whether those activities relate to

    the scope of his federal office. If they do not, then Meadows cannot satisfy his

    burden of establishing subject matter jurisdiction under the federal officer

    removal statute.

          B.     Meadows’s Role as a Federal Officer

          Having defined the “act” at issue for federal officer removal, the Court

    now turns to Meadows’s federal office and its scope. This inquiry is necessary

    because the authority of Meadows’s office will dictate the scope of the duties

    associated with that role. At the evidentiary hearing, Meadows testified broadly

    to the scope of his role as White House Chief of Staff; he also offered two

    declarations to further describe the Chief of Staff’s role. Hearing Tr. 9:8

    (commencing Meadows’s testimony), 156:19–158:24 (admitting the two

    declarations as DX 3 and 4). 10 Meadows also testified about his role specifically

    in reference to the Indictment’s overt acts.



    10The Court admitted these declarations over the State’s objection and indicated that it
    would assess the weight to be given the declarations given they are unsworn and

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                 1.     The White House Chief of Staff Role

          Meadows was the White House Chief of Staff and Assistant to President

    Trump from March 30, 2020 until January 20, 2021. DX 1; Hearing Tr. 9:25–10:3.

    His official title was “[A]ssistant to the President and Chief of Staff.” Id. at 13:8–

    10; DX 1. He described himself as “the senior official in charge of the Executive

    Office of the President.” Hearing Tr. 14:3–5; see also DX 3 ¶ 3 (indicating

    Meadows had “broad responsibilities” including “advising and assisting the

    President and managing the staff of the White House Office within the Executive

    Office of the President”); DX 4 ¶ 4 (asserting that Meadows “[was] responsible

    for keeping the trains running on time for the White House [and] the Executive

    Branch of the federal government”). Meadows described his position to require

    “oversee[ing] all the federal operations,” which extended to actions taken inside

    of and outside of the West Wing. Hearing Tr. 13:10–12.

          Specifically, Meadows testified that he was part of “almost every meeting”

    with the President, either as a “principal” or as an “observer.” Id. at 16:8–10; DX




    unnotarized. Hearing Tr. 158:23–24. In this Order, the Court considers these
    declarations but affords their contents most weight when corroborated by other
    testimony or evidence.
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    4 ¶ 6 (“Meadows’s general practice was to attend many but not all the meetings

    between the President and other parties, regardless of subject matter.”). In

    meetings, “principals” may “have a particular position” regarding a “particular

    issue” and would “try to show the pros and cons of [the] arguments so that some

    resolution could be made.” Hearing Tr. 19:1–8. Even as an “observer,” he

    attended the President’s meetings because his job required him to “try to be

    aware of everything [in the meeting] . . . even if [he] was not a principal[.]”

    Hearing Tr. 16:10–15; DX 4 ¶ 5 (“Meadows was responsible for administering the

    planning and scheduling of the President’s meetings, telephone conferences, and

    other engagements, regardless of subject matter.”). These meetings might include

    “members of Congress, other executive branch officials[, and] state or local

    government officials.” Hearing Tr. 21:12–20; see also DX 3 ¶ 5 (indicating the

    Chief of Staff was “responsible for managing the President’s calendar, arranging

    meetings, calls, and other discussions with federal, state, and local officials, as

    well as private citizens”).

          Meadows testified that as Chief of Staff he had to “be aware of the

    President’s schedule.” Hearing Tr. 19:16. This meant he would “move meetings

    along . . . do the wrap-up . . . and bring things to a close where there was an


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    action item[.]” Id. at 19:16–22. If other executive branch staff were in the meeting

    to ensure it efficiently ended, then Meadows’s involvement might be limited to a

    “quick pop in” on the meeting. Id. at 20:19–25.

          Meadows asserts that another function of Meadows’s role as White House

    Chief of Staff was “to be generally aware of what’s going on” because he often

    was called upon to give the President advice. Id. at 19:23–20:7, 45:8–11. It also

    helped Meadows “prioritize [the President’s] time” and “skate to where the

    p[uck] is” on certain issues. Id. at 33:20–24.

          Meadows also testified that as White House Chief of Staff he was bound

    by the Hatch Act 11 and he could not engage in political activity. Hearing Tr. 39:7–

    25; 135:21–136:5. As discussed more fully below, the Hatch Act prohibits “an

    employee” from “us[ing] his official authority or influence for the purpose of

    affecting the result of an election.” 5 U.S.C. § 2732(a)(1). This includes, “[u]sing

    his or her official title while participating in political activity.” 5 C.F.R. §

    734.302(b)(2). And political activity is defined as, “activity directed toward the




    11 To be clear, no Hatch Act violation has been charged against Meadows. And the Court

    is not determining if Meadows violated the Act, or if there is any merit to a potential
    Hatch Act claim.
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    success or failure of a political party, candidate for partisan political office, or

    partisan political group.” Id. § 734.101.

          The Court finds that the color of the Office of the White House Chief of

    Staff did not include working with or working for the Trump campaign, except

    for simply coordinating the President’s schedule, traveling with the President to

    his campaign events, and redirecting communications to the campaign. Thus,

    consistent with his testimony and the federal statutes and regulations, engaging

    in political activities is exceeds the outer limits of the Office of the White House

    Chief of Staff.

                 2.    Meadows’s Testimony and Theory of the Case

          Meadows’s theory of the case is that he is entitled to immunity because the

    Indictment relates to his role as White House Chief of Staff. Doc. No. [1]. As part

    of his direct and cross examination testimony, Meadows addressed how the overt

    acts related to his specific federal role as the White Chief of Staff. Ultimately,

    Meadows concluded that, based on the topics and circumstances discussed in his

    testimony, he had not done anything outside the scope of his role as the White

    House Chief of Staff. Hearing Tr. 111:18–19. However, he did admit that there




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    could be activities the President requested which would be outside of the scope

    of the role a. Id. at 112:15–113:11.

          While the Court credits Meadows’s testimony about his role as White

    House Chief of Staff, it will give greater weight to the testimony of specific tasks

    that he outlined as within the scope of his office (i.e., time management, attending

    meetings, briefing the President, etc.). Meadows testified consistently about these

    duties on both direct and cross-examinations. Additionally, these duties are

    corroborated by the Declarations filed in support of Meadows’s Notice of

    Removal (DXs 3, 4). However, the Court gives less weight to his assertions that

    all actions he took were within the scope of his office. When questioned about the

    scope of his authority, Meadows was unable to explain the limits of his authority,

    other than his inability to stump for the President or work onbehalf of the

    campaign. Hearing Tr. 111:12–113:6. The Court finds that Meadows did not

    adequately convey the outer limits of his authority, and thus, the Court gives that

    testimony less weight. 12



    12 In this case, Meadows was the main witness presenting testimony for his case. Thus,

    the Court must determine the appropriate amount of weight to assign to his testimony
    when evaluating it, the same as it does any other witness in an evidentiary hearing.
    However, given the nature of the motion, and the pending criminal proceedings the

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          C.     RICO: Meadows Was Not Acting Under Color of Office

          The Court now turns to whether the acts alleged against and taken by

    Meadows are related to the color of his office as White House Chief of Staff. It

    ultimately concludes that the relevant acts are outside the scope of Meadows’s

    federal office.

                 1.     Federal and Statutory Limitations Regarding the Scope of the
                        Office of White House Chief of Staff

                          a)    Constitutional requirements

          The Constitution does not provide any basis for executive branch

    involvement with State election and post-election procedures. The Elections

    Clause expressly reserves the “Times, Places, and Manner” of elections to state

    legislatures. U.S. Const. art. I, § 4, cl. 1; see also Shelby Cnty. v. Holder 570 U.S.

    529, 543 (2013) (“[T]he Framers of the Constitution intended the States to keep for

    themselves, as provided in the Tenth Amendment, the power to regulate

    elections.” (quoting Gregory v. Ashcroft, 501 U.S. 452, 461–62 (1991)); U.S. Term




    Court makes these decisions with great caution. The determinations here do not go to
    Meadows’s propensity to be truthful as a general matter. However, the Court cannot
    undertake the task assigned by 28 U.S.C. § 1455(b)(5) without assigning the appropriate
    weight to the testimony.
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    Limits, Inc. v. Thornton, 514 U.S. 779, 833–34 (1995) (“[T]he Framers understood

    the Elections Clause as a grant of authority [to state legislatures] to issue

    procedural regulations, and not as a source of power to dictate electoral

    outcomes, to favor or disfavor a class of candidates, or to evade important

    constitutional restraints.”). States have been tasked under the Elections Clause to

    “provide a complete code” for elections which ought to include “regulations

    ‘relat[ing] to . . . prevention of fraud and corrupt practices [and] counting of

    votes . . . .’” Moore v. Harper, 600 U.S. ----, 143 S. Ct. 2065, 2085 (2023) (quoting

    Smiley v. Holm, 285 U.S. 355, 366 (1932)). This is not a power incident to a State’s

    police powers but “derives from an express grant in the Constitution.” Fish v.

    Kobach, 840 F.3d 710, 727 (10th Cir. 2016).

          Courts have previously faced tough questions in cases involving

    Congress’s power to use its lawmaking authority to oversee or empower the

    States in their duties under the Elections Clause. Cf. e.g., id. at 725–26 (“The

    Supreme Court has recently and repeatedly reaffirmed that ‘the power the

    Elections Clause confers is none other than the power to pre-empt[ ]’ . . . ‘The

    Clause is a default provision; it invests the States with responsibility for the

    mechanics of congressional elections, but only so far as Congress declines to


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    preempt state legislative choices.’” (quoting Arizona v. Inter Tribal Council of

    Ariz., Inc., 571 U.S. 1, 14–15 (2013) (first quotation); Foster v. Love, 522 U.S. 67, 69

    (1997) (second quotation))). Indeed, when the Supreme Court has discussed

    federal power limiting States’ authority over elections, it has cited to congressional

    power, not executive power. See, e.g., Shelby Cnty., 570 U.S. at 543.

           Conversely, there are no similar close calls presented when executive

    authority is at issue. As a constitutional matter, executive power does not extend

    to overseeing states’ elections. 13 Apart from spheres where federal supremacy




    13 The only potential constitutional authority, the Take Care Clause, does not enable the

    type of election oversight to which the State’s Indictment pertains. See U.S. Const. art.
    II, § 3 (“[The President] shall take Care that the Laws be faithfully executed[.]”). Yet,
    executive authority under the Take Care Clause “does not extend to government
    officials over whom [the Executive] has no power or control.” Thompson v. Trump, 590
    F. Supp. 3d 46, 78 (D.D.C. 2022). The Court accordingly rejects Meadows’s suggestion
    that the Take Care Clause provides a basis for finding executive authority over state
    election procedures. Doc. No. [45], 9–10.
            The Court is also unpersuaded by Meadows’s contention that his acts involving
    state election procedures are within executive power to advise Congress. Doc. No. [45],
    10. It would be inconsistent with federalism and the separation of powers, to find that
    activities which are delegated to the states are also within the scope of executive power
    because the executive branch may advise Congress. Cf. Fish, 840 F.3d at 725–26 (“The
    [Elections] Clause is a default provision; it invests the States with responsibility for the
    mechanics of congressional elections, but only so far as Congress declines to preempt state
    legislative choices.” (quoting Foster, 522 U.S. at 69). The Court will not find that the
    executive branch has some advisory authority in this space in light of the express
    constitutional grant over elections to the States.
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    supersedes, “States function as political entities in their own right.” Bond v.

    United States, 564 U.S. 211, 221 (2011). Here, there is clear constitutional authority

    delegating the procedures of elections to the States. See Const. art. I, § 4, cl. 1.

    Thus, the executive branch cannot claim power to involve itself in States’ election

    procedures when the Constitution clearly grants the States the power to manage

    elections under the Elections Clause.

                         b)     Statutory requirements

          Statutorily, the Hatch Act is helpful in defining the outer limits of the scope

    the White House Chief of Staff’s authority. The State argues, and Meadows

    agrees, that he is bound by the Hatch Act, a law that prohibits federal employees

    from engaging in political activity. Doc. No. [27]; Hearing Tr.136:3–5. While the

    Court does not rely on the merits of a Hatch Act violation, it does recognize that

    the Hatch Act provides that political activity is not included in the outer limits of

    the role of the White House Chief of Staff. The Hatch Act prohibits executive

    branch employees from “us[ing] [their] official authority or influence for the

    purpose of interfering with or affecting the result of an election[.]”

    5 U.S.C. § 7323(a)(1). The federal regulation governing political activities of

    federal employees prohibits the same. 5 C.F.R. § 734.302(a). The regulation,


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    moreover, broadly defines “political activity” to be “activity directed toward the

    success or failure of a political party, candidate for partisan political office, or

    partisan political group.” Id. § 734.101. The types of behaviors that Meadows is

    alleged to be involved in included post-election activities and election outcomes

    in various States pertaining to a particular candidate for office. If these potentially

    political activities indeed come against the Hatch Act, its regulations limit such

    efforts. These prohibitions on executive branch employees (including the White

    House Chief of Staff) reinforce the Court’s conclusion that Meadows has not

    shown how his actions relate to the scope of his federal executive branch office.

    Federal officer removal is thereby inapposite.

                 2.     Meadows’s Has Not Met His Burden in Establishing the
                        Acts Are Related to His Federal Office

          Even under the “quite low” bar for federal officer removal, the Court

    concludes that Meadows has not met his burden to show that his criminal

    prosecution can be removed under the federal officer removal statute. “Although

    the words ‘acting under’ are ‘broad,’ the Supreme Court has emphasized that

    they are not ‘limitless.’” BP PLC, 31 F.4th at 228–29 (quoting Watson v. Philip

    Morris Cos., Inc., 551 U.S. 142, 150 (2007)); Acker, 527 U.S. at 447 (Scalia, J.,

    dissenting) (opining that the act that forms the basis of “the gravamen of the
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    suit . . . [is] at least closely connected with, the performance of his official

    functions.”).

          The Court concludes that Meadows has not met even the “quite low”

    threshold for removal. Again, what the Court must decide for purposes of federal

    officer removal is whether the actions Meadows took as a participant in the

    alleged enterprise (the charged conduct) were related to his federal role as White

    House Chief of Staff. The evidence adduced at the hearing establishes that the

    actions at the heart of the State’s charges against Meadows were taken on behalf

    of the Trump campaign with an ultimate goal of affecting state election activities

    and procedures. Meadows himself testified that working for the Trump

    campaign would be outside the scope of a White House Chief of Staff. Hearing

    Tr. 113:2–6.

          As the Court has also explained, the overt acts are merely illustrative in

    nature and not elements of the crimes charged against Meadows. Nevertheless,

    the overt acts are set out in the Indictment and Meadows shaped his entire

    evidentiary presentation around them. Therefore, the Court will assess each of

    Meadows’s overt acts to factually determine if they fall within the scope of

    Meadows role as a federal officer.


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          The Court finds Meadows only carried his burden in showing that one of

    the eight overt acts attributed to Meadows could have occurred within the scope

    of Meadows’s federal office. Overt Act 6 provides that Meadows “sent a text

    message to United States Representative Scott Perry from Pennsylvania and

    stated, ‘Can you send me the number for the speaker and the leader of PA

    Legislature[?] POTUS wants to chat with them.’” Doc. No. [1-1], 21. Because

    Overt Act 6 is phrased so broadly, it is conceivable that it encompasses an activity

    that is within the scope of Meadows’s federal duties. Meadows testified that as

    part of his role as Chief of Staff, he would retrieve phone numbers of various state

    officials. Hearing Tr. 47:8–10 (“I was asked on a pretty regular occasion for

    numbers . . . .”). The omission in the Indictment of the context Meadows sought

    this phone number, when coupled with the testimony that retrieving phone

    numbers for state officials was a routine part of his role as Chief of Staff, leaves

    the Court to conclude Overt Act 6 arguably occurred within the scope of

    Meadows’s duties as White House Chief of Staff.

          The Court finds that the evidence presented does not show that most of the

    remaining overt acts were related to the scope of Meadows’s role as Chief of




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    Staff. 14 The procedures States utilize to conduct elections and ensure results are

    not part of the executive branch’s role or powers. See Section (III)(C)(1)(a) supra.

    As a senior official in the executive branch, therefore, Meadows cannot have

    acted in his role as a federal officer with respect to any efforts to influence,

    interfere with, disrupt, oversee, or change state elections: those activities are

    expressly delegated to the States.

           Overt Act 96 alleges that Meadows sent a text message to the Office of the

    Georgia Secretary of State’s Chief Investigator Frances Watson 15 asking, “[i]s

    there a way to speed up Fulton County signature verification in order to have

    results before Jan 6 if the [T]rump campaign assists financially.” Doc. No. [1-1],

    45. At the hearing, Meadows testified that no federal funds would be available to



    14  At the hearing, Meadows disputed the merits of Overt Acts 9 and 19. Hearing Tr.
    43:10–49:9, 73:18–22, 50:4–9. With respect to Overt Act 9, he disputed that he
    participated in the November 25, 2020 meeting with the Pennsylvania Legislatures.
    Hearing Tr. 43:10–49:9, 73:18–22. Similarly, Meadows disputed that he asked McEntee
    for the memorandum as alleged in the Indictment. Hearing Tr. 50:4–9; Doc. No. [1-1], 24
    (Overt Act 19). Meadows is not required to show that he is innocent of the charges
    against him to successfully remove his case. Soper, 270 U.S. at 32–33. Neither is the State
    required to prove the overt acts as part of its burden of proof at trial. See Section
    (III)(A)(2) supra. Accordingly, to the extent necessary, the Court treats the evidence
    propounded in support of Overt Acts 9 and 19 as neutral to the determination of
    whether particular Overt Acts were within the scope of Meadows’s federal office.
    15 At the hearing, Meadows testified that he believed the message was to Ms. Jordan

    Fuchs, not Ms. Watson. Hearing Tr. 90:1–6.
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    the Trump campaign to support this request. Hearing Tr. 93:10–12. Nevertheless,

    Meadows testified that he was not speaking for the campaign in this message,

    but that it was “in keeping of me trying to ask a person who should know

    whether it’s a financial resource issue, you know, manpower issue or whatever.

    So I wasn’t speaking on behalf of the campaign.” Id. at 93:3–6.

          Meadows failed to provide sufficient evidence that these actions related to

    any legitimate purpose of the executive branch. The Court determines as a matter

    of fact, making a request to the Georgia Secretary of State’s Office regarding a

    possibility that the Trump campaign could provide financial resources to fund

    the recount effort, even if not directly on behalf of the campaign, is still campaign-

    related political activity. Thus, Meadows has not met his burden in establishing

    that Overt Act 96 related to the scope of his official duties.

          Similarly, Overt Act 92 alleges that Meadows traveled to Cobb County,

    Georgia where he “attempted to observe the signature match audit being

    performed there by law enforcement officers from the Georgia Bureau of

    Investigations and the Office of the Georgia Secretary of State.” Doc. No. [1-1],

    44. Meadows testified that his actions with respect to this allegation were:

                 in line with [his duties], because what I did was go to
                 the Cobb County convention center to look at the
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                 process that they were going through. And in doing so
                 was trying to, again, check that box to say, all right,
                 everything is being done right here, and so if there’s
                 allegations of fraud, we need to move on to something
                 else.

    Hearing Tr. 152:4–17. The Court factually finds that Meadows overseeing State

    election recount processes related to President Trump’s reelection campaign.

    Meadows failed to provide sufficient evidence that these actions related to any

    legitimate purpose of the executive branch. Accordingly, the Court finds

    Meadows has not met his burden in establishing that Overt Act 92 is related to

    scope of the Office of White House Chief of Staff.

          Overt Act 112 alleges that Meadows participated in the January 2, 2021

    phone call with Donald Trump and Secretary Raffensperger to unlawfully solicit

    the Secretary of State to alter the certified returns for the presidential electors for

    the November 3, 2022 presidential election. Doc. No. [1-1], 51. At the hearing

    Meadows rationalized his involvement in this call as seeking a compromise and

    settlement of the Trump campaign’s suit against the State of Georgia. He testified

    “this phone call, setting it up with the attorneys where they could find some kind

    of compromise. . . .” Hearing Tr. 108:14–17. He acknowledged that the lawyers

    on the phone call were lawyers for either the President Trump personally or the


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    Trump campaign and that no lawyers from the Office of White House Counsel

    or the Department of Justice were on the call. Id. at 107:11–108:1; 210:3. The

    Supreme Court has instructed that involvement in private litigation is not part of

    the executive branch’s role or powers. See Clinton v. Jones, 520 U.S. 681, 702 n.36

    (1997). Therefore, based on the evidence presented, the Court finds that the

    January 2, 2021 phone call was made regarding private litigation brought by

    President and his campaign against the State of Georgia. It was therefore outside

    Meadows’s federal role as an executive branch officer.

          Furthermore, another participant on the call, Raffensperger testified that

    “[t]hose were Trump campaign lawyers [on the call], so I felt that it was a

    campaign call.” Id. 210:2–3. In the same vein, Meadows’s participation in the

    phone call clearly reflects campaign-related interests. He said:

          Mr. Secretary, obviously there is, there are allegations where we
          believe that not every vote or fair vote and legal vote was -- was --
          counted and that’s at odds with the representation from the
          secretary of state’s office. What I’m hopeful for is there some way
          that we can find some kind of agreement to look at this a little bit
          more fully. You know the president mentioned Fulton County. But
          in some of these areas where there seems to be a difference of where
          the facts seem to lead, and so Mr. Secretary, I was hopeful that, you
          know, in the spirit of cooperation and compromise is there
          something that we can at least have a discussion to look at some of
          these allegations to find a path forward that’s less litigious?


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    SX 3, 12:49–14:00. The record is clear that Meadows substantively discussed

    investigating    alleged   fraud    in   the   November     3,   2022   presidential

    election. Therefore, the Court finds that these contributions to the phone call

    with Secretary Raffensperger went beyond those activities that are within the

    official role of White House Chief of Staff, such as scheduling the President’s

    phone calls, observing meetings, and attempting to wrap up meetings in order to

    keep the President on schedule. Rather, Meadows’s participation on the January

    2, 2021 call was political in nature and involved the President’s private litigation,

    neither of which are related to the scope of the Office of White House Chief of

    Staff. By failing to adduce evidence that these actions related to any legitimate

    purpose of the executive branch, Meadows did not satisfy the burden of showing

    that these actions related to the color of his office.

          Finally, the Court finds that activities by Meadows—even if characterized

    as scheduling meetings or phone calls or taken for the purpose of advising the

    President—are “political activities” under the pertinent regulations if they were

    for the purpose of furthering the common objective of success of a particular

    presidential candidate. See 5 C.F.R § 734.101. Overt Acts 5 and 93 relate to

    attending and scheduling meetings and placing phone calls. Doc. No. [1-1], 21–


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    22, 44. The Court finds that the underlying substance of those meetings and calls

    were related to political activities and not to the scope of Meadows’s federal

    office.

              For the meeting with Michigan state officials, Meadows testified that he

    recalled “most of that [meeting] had to do with allegations of potential [election]

    fraud in Michigan . . . .”. 16 Hearing Tr. at 44:20–22; see also id. at 64:2–7. He also

    acknowledged that “President Trump had a personal interest in the outcome of

    the election in Michigan.” Id. at 63:12–15; see also id. at 64:8–13. Accordingly the

    meeting in Overt Act 5 was outside the scope of his federal executive branch

    office as they related to State election procedures following the presidential

    election.

              The Court also finds that Overt Act 93 was outside the scope of Meadows’s

    federal executive role. Overt Act 93 alleges that Meadows arranged a phone call

    between President Trump and the Georgia Secretary of State’s Chief Investigator.



    16 Meadows later testified that he did not know of any specific election challenge in
    Michigan by the Trump campaign or the federal government. Hearing Tr. 57:21–58:4.
    He further clarified however that “[Trump] was concerned about the election results,
    but in terms of a lawsuit, [Meadows was] not aware of it.” Id. at 63:22–24. The Court
    finds Meadows’s knowledge of President Trump’s concern about the election sufficient
    to find that, at the time of this meeting, Meadows had a general awareness of the post-
    election activities in Michigan regarding the state’s election procedures.
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    Meadows admits to arranging this phone call. Hearing Tr. 53:17–20. Meadows

    later testified that he received this phone number either through his attendance

    of the Cobb County election recount or by his primary contact at the Georgia

    Secretary of State’s Office. Hearing Tr. 89:15–24. Meadows failed to provide

    sufficient evidence that these actions related to any legitimate purpose of the

    executive branch. Accordingly, the Court finds that Meadows failed to carry his

    burden in showing that Overt Act 93 was in the scope of Meadow’s official role

    as Chief of Staff.

          As set forth above, the Court finds insufficient evidence to establish that

    the gravamen, or a heavy majority of overt acts alleged against Meadows relate

    to his role as White House Chief of Staff. The State has put forth evidence that at

    various points during the time of the alleged conspiracy Meadows worked with

    the Trump campaign, which he admitted was outside of the role of the White

    House Chief of Staff. See SX 3 12:49–14:00. Tr. 91:11–20; 95:19–96:23. In light of

    the State’s evidence that Meadows undertook actions on behalf of the campaign

    during the time period of the alleged conspiracy, Meadows was required to come

    forward with competent proof of his factual contention that his actions involving

    challenges to the outcome of the Georgia’s Presidential election results were


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    within his role as Chief of Staff. His efforts fall short. See Mesa, 489 U.S. at 131–

    32 (“There must be a causal connection between what the officer has done under

    asserted official authority and the state prosecution. It must appear that the

    prosecution of him, for whatever offense, has arisen out of the acts done by him

    under color of federal authority and in enforcement of federal law, and he must

    by direct averment exclude the possibility that it was based on acts or conduct of

    his not justified by his federal duty.”).

          Instead, the evidence before the Court overwhelmingly suggests that

    Meadows was not acting in his scope of executive branch duties during most of

    the Overt Acts alleged. Even if Meadows took on tasks that mirror the duties that

    he carried out when acting in his official role as White House Chief of Staff (such

    as attending meetings, scheduling phone calls, and managing the President’s

    time) he has failed to demonstrate how the election-related activities that serve

    as the basis for the charges in the Indictment are related to any of his official acts.

    As the substance of the overt acts constituted a significant part of Meadows’s

    testimony and proof of his acting within the scope of his federal office, the Court

    concludes that based on the factual evidence, Meadows was not acting in the

    scope of his office for purposes of federal officer removal.


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             D.    Count 28

             Count 28 of the Indictment is substantively the same as Overt Act 112 in

    the RICO charge. Compare Doc. No. [1-1], 50, with id. at 87. The Court has

    already determined that the January 2nd phone call was not related to

    Meadows’s role as White House Chief of Staff. See Section III(C)(2) supra. For the

    same reasons, the Court determines that Meadows’s participation on this phone

    call was not related to the color of the Office of the White House Chief of Staff.

    Thus, Meadows has not met his burden in establishing that Count 28 related to

    the color of his office and the Court lacks subject matter jurisdiction over that

    claim.

             E.    Federal Defenses

             The third prong of Section 1442 removal requires the defendant to allege

    colorable federal defenses. Caver, 845 F.3d at 1145. Meadows asserts that he has

    immunity from the charges, under the Supremacy Clause, because he was acting

    pursuant to the scope of his office. In his Motion to Dismiss, he also asserts a First

    Amendment political speech defense and a Due Process defense. Doc. No. [15-1],

    29–31. Because Meadows has failed to carry his burden with respect to the




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    charged conduct’s relationship to the scope of his federal office, the Court

    declines to address Meadows’s defenses. 17

          F.     Federalism

          Finally, the Court finds support for its conclusion that Meadows was not

    acting in the scope of his federal officer role for the purpose of Section 1442.

    Federal officer removal’s “‘basic’ purpose is to protect the Federal Government

    from the interference with its ‘operations[.]’” Watson, 551 U.S. at 150 (2007). It “is

    an incident of federal supremacy and is designed to provide federal officials with

    a federal forum in which to raise defenses arising from their official duties.”

    Caver, 845 F.3d at 1142 (quoting Cohen, 887 F.2d at 1453). At least in the civil

    context, “[t]he removal statute itself merely serves to overcome the ‘well-pleaded

    complaint’ rule which would otherwise preclude removal even if a federal

    defense were alleged.” Mesa, 489 U.S. at 136.




    17 The Superior Court may have to decide these issues at a later time, and evaluating

    them here should be avoided unless absolutely necessary. The “principle of federalism”
    shows “that federal courts must not interfere in state judicial processes because state
    courts of general jurisdiction are authorized and competent, as front-line fora, to
    adjudicate all relevant questions of both state and federal law.” Penthouse Intern., Ltd.
    v. Webb, 594 F. Supp. 1186, 1192 (N.D. Ga. 1984) (citing Younger v. Harris, 401 U.S. 37,
    43–44 (1971)).
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          Here, Section 1442’s purposes would not be fulfilled by removal. Meadows

    raises a federal officer immunity defense that the Indictment’s charged acts were

    made under his federal authority and directed at state actions. The Indictment’s

    associations and acts, as well as Meadows’s presented evidence, however, all

    indicate that federal officials (or those purporting to act on behalf of federal

    officials) engaged in post-election activities that clearly fall outside executive

    authority and expressly within the constitutional gamut of the States.

          Assuming jurisdiction over this criminal prosecution would frustrate the

    purpose of federal officer removal when the state charges allege—not state

    interference with constitutionally protected federal activities, but—federal

    interference with constitutionally protected state actions. This result cannot stand

    in the face of federalism, “a concept which retains vitality and importance in our

    modern constitutional scheme,” and the Constitution’s express delegation of

    election activities to States. United States v. Ballinger, 395 F.3d 1218, 1248 (11th

    Cir. 2005) (Birch, J., dissenting). Thus, the purposes of federal officer removal are

    served, rather than thwarted, by the Court’s conclusion that it has no jurisdiction

    over the removal of Meadows’s criminal prosecution.




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                                           * * * *

          As the foregoing analysis illustrates, the Court concludes that Meadows

    has not shown that the actions that triggered the State’s prosecution related to his

    federal office. The Constitution, federal statute and regulation of executive

    branch employees, and the purpose of Section 1442 support this conclusion.

    Meadows’s alleged association with post-election activities was not related to his

    role as White House Chief of Staff or his executive branch authority.

          The Court acknowledges that federal officer’s “relating to” requirement is

    “broad.” Caver, 845 F.3d at 1144. The Court also acknowledges that “[f]ederal

    courts credit the removing party’s theory of the case for purposes of determining

    if a federal officer both acted ‘under color of office’ and raised ‘a colorable federal

    defense.’” Heinze, 637 F. Supp. 3d at 1322 (quoting Acker, 527 U.S. at 432). The

    Court does not take lightly these standards in rendering its conclusion that

    federal officer removal is not supported here. Rather, the Court concludes that if

    it were to agree with Meadows’s arguments regarding removal, the Court would

    have to turn a blind eye to express constitutional power granted to the States to

    determine their election procedures, as well as federal statutory and regulatory

    limitations on political activities of executive branch officials. The Court would


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    be ignoring the evidence Meadows himself submitted of his post-election related

    activities and the purpose of the federal officer removal statute. It would be

    legally and factually erroneous for the Court to do so.

          The Court makes clear this Order determines only that, as a federal court

    with limited jurisdiction, it lacks any basis for jurisdiction over Meadows’s

    criminal prosecution. The Court’s conclusion is not to suggest any opinion about

    the State’s case against Meadows. The Court makes no ruling on the merits of the

    charges against Meadows or any defense that he may offer. Meadows maintains

    the presumption of innocence and bears no burden of proving that he did not

    commit the crimes charged against him. The burden of proof beyond a

    reasonable doubt remains with the State. This Order’s sole determination is that

    there is no federal jurisdiction over the criminal case. The outcome of this case

    will be for a Fulton County judge and trier of fact to ultimately decide.

          The Court also makes clear that its determination on Meadows’s notice of

    removal and its jurisdiction over his criminal prosecution does not, at this time,

    have any effect on the outcome of the other co-Defendants who have filed notices




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    of removal of the criminal prosecution against them. 18 The Court will assess these

    Defendants’ arguments and evidence following the forthcoming hearings on the

    notices of removal, independent of its conclusion in this Order.

    IV.   CONCLUSION

          For the foregoing reasons, the Court DECLINES to assume jurisdiction

    over the State’s criminal prosecution of Meadows under Section 1455 and

    REMANDS the case to Fulton County Superior Court. The Court also DIRECTS

    the Clerk of Court to TERMINATE all pending motions and CLOSE this case.



          IT IS SO ORDERED this 8th day of September, 2023.



                                             ________________________________
                                             HONORABLE STEVE C. JONES
                                             UNITED STATES DISTRICT JUDGE




    18 See Georgia v. Jeffrey Bossert Clark, No. 1:23-cv-03721-SCJ (NDGa.); Georgia v. David

    James Shafer, No. 1:23-cv-03720-SCJ (NDGa.); Georgia v. Shawn Micah Tresher Still, No.
    1:23-cv-03792-SCJ (NDGa.); Georgia v. Cathleen Alston Latham, No. 1:23-cv-03803-SCJ
    (NDGa.).
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